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                                      UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEW JERSEY

           NORTH RIVER MEWS ASSOCIATES,
           EEC and 33 COAN ASSOCIATES, LLC,                Civil Action No 2:14-cv-08129 (MCA)(LDW)

                               Plaintitf,

                                V.
                                                          ORDER OF DISMISSAL WITH PREJUDICE
          ALCOA, INC, ALCOA DOMESTIC, LLC
          as Successor in Interest to AP, NEW
          JERShY, INC. ENVIRO-SCIENCES (OF
          DELAWARE), INC., formerly known as
          SNVIRO-SCWNCES, INC., and JOHN
          DOES 1-25 (fictitious names),

                               Defendants.


                               ORDER TO DISMISS WITH PREJUIMCE
                         DEFENDANT ENVIRO-SCIENCES (OF I)ELAWAREI, INC

                THIS MATTER, having come before the Court upon plaintiffs’ voluntary Stipulation to

         Dismiss Defendant Enviro-Sciences (of Delaware), Inc. with prejudice, and the Court having

         reviewed the same and being in all things duly advised, now hereby ORDERS, ADJUDGES and

         DECREES that Plaintiff’s claims against Defendant Enviro-Sciences (of Delaware), InC., and

         any and all cross-claims ot counter-claims asseited by Defendant Enviro-Sciences (of Delaware),

         Inc., are hereby dismissed, with prejudice, with each of the pçties bearing its own fees, costs
                                                                                                         and
         legal expenses, including attorney fees.
                                                                           /1




        Dated: December      ‘       2016
                                                              /       J
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